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UNlTED STATES DlSTR|CT COURT
DlSTR|CT OF KANSAS

cHRlsTOPHER GORDEN §
Plain¢irf(s), ) cleL AcTIoN
) cAsE No.
v. )
uNloN PAchlc RA|LROAD col\/IPANY §
Defendant(s). )
A D R R E P 0 R T
TYPE oF ADR: Mediation other:

Name of Mediator or other Neutra|: MiChae| MU||in
ADR Session Held (date): JBHUGW 20. 2015

Additiona| Session(s) He|d, if any (date):

Resu|ts of Referral to ADR:
|:| Case settled before ADR l:l Case did not settle

Case settled at ADR session l:\ Case settled in part

Mediation Fees (answer only if private mediator used):
Did neutral serve pro bono? Yes m or No -.

Did neutral serve for a reduced fee? Yes l:| or No -.

Status of litigation when ADR occurred-please check one:
TRO l:l pre-discovery l:| partial discovery
pending dispositive motion l] After dispositive motion ruling |:|

Lgngth gf ADR §§§§ion: One day

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discovery complete l]
other l:l

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Dated: lt §§ f(,s MW/'/

tto_rney Signature

(ATTENT|ON: This form is to be FlLED by defense counsel within fourteen days of the
conclusion or cancellation ofthe ADRsession. This form must be completed and returned even
if the ADR session was not he|d. Additional forms ma be retrieved from the Court’s website

at www.ksd.uscourts.M/attornev/adr).

 

THlS FORM lS FlLED
No information otherthan that specifically requested should be included on this form.

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